    Case: 1:17-cv-08167 Document #: 40 Filed: 02/01/19 Page 1 of 6 PageID #:332




                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

                                           )
  AUDREY WADSWORTH,                        )
                                           )
               Plaintiff,
                                           )    No. 17 C 8167
                                           )
          v.                               )    Judge Virginia M. Kendall
                                           )
  KROSS, LIEBERMAN & STONE,                )
  INC.,
                                           )
               Defendant.                  )
                                           )

                                      ORDER

       In this Fair Debt Collection Practices Act (FDCPA) case, the parties both
moved for summary judgment, contesting whether a signing bonus that one must
reimburse her former employer for constitutes a “debt” under the Act. As far as the
Court can tell, this is an issue of first impression in this Circuit and nationwide. A
plain reading of the Act, though, shows that a signing bonus is a type of debt and
therefore Kross, Lieberman & Stone, Inc. (“Kross”) had to comply with the applicable
disclosure requirements. Accordingly, the Court denies Kross’s motion (Dkt. 28) and
grants Audrey Wadsworth’s (Dkt. 25), entering judgment as a matter of law in her
favor.

       Except where otherwise noted, the following facts are undisputed, and the rec-
ord supports them. In September 2016, Wadsworth accepted an employment offer
from PRA Health Sciences, Inc. (PRA) to work as a study manager, tasking her with
developing clinical trials in the pharmaceutical industry. (Dkt. 33 ¶¶ 1, 3.) As a part
of the deal, PRA agreed to pay Wadsworth a signing bonus over the course of two
installments of $3,750 each. Id. ¶ 1. It was not without its caveat, however: if
Wadsworth left PRA’s employ voluntarily or PRA terminated her for cause less than
eighteen months after receipt of the second installment, Wadsworth agreed to reim-
burse PRA for the entire amount of the signing bonus. Id. ¶ 2 (quoting Ex. B). In her
employment contract, Wadsworth additionally agreed to “promptly reimburse PRA
for any amounts that may be owed” by her to PRA. Id. ¶ 5 (quoting Ex. C).

       About a year later, PRA terminated Wadsworth because of a “workload reduc-
tion” and asserted its entitlement to repayment of the bonus. Id. ¶ 6. PRA admits


                                      Page 1 of 6
    Case: 1:17-cv-08167 Document #: 40 Filed: 02/01/19 Page 2 of 6 PageID #:333




that Wadsworth immediately owed it the debt. 1 Id. ¶¶ 8, 23. Within a week, PRA
referred the debt to Kross, a debt collector, for recovery. Id. ¶¶ 9–12, 22, 24. Under
Kross’s contract with PRA, it was responsible for collecting any outstanding balances
on delinquent accounts. Id. ¶¶ 10, 12. Kross began its process the day after an em-
ployee’s termination. Id. ¶ 12. Therefore, on or about September 19, 2017, Kross sent
Wadsworth a collection letter, which disclosed the amount due, informed her that it
was a debt collector, and also that the letter was its first attempt to collect. Id. ¶ 15
(quoting Ex. D), ¶ 16.

       Kross admits that it did not abide by the FDCPA. Namely, in the five days
after its initial communication, Kross failed to provide Wadsworth with a statement
that indicated she had 30 days to dispute the debt’s validity if she did not want Kross
to assume its validity. Id. ¶ 17; Dkt. 29 ¶ 13. Then, on or about September 25, Sep-
tember 28, October 3, and October 4, a Kross representative called Wadsworth but
neglected to advise her that the representative worked at Kross—a debt collector—
and was calling from there to collect a debt. 2 (Dkt. 33 ¶¶ 18–20; Dkt. 29 ¶ 14.)

       Because of these alleged FDCPA violations, Wadsworth sued Kross in federal
court in November 2017. (Dkt. 1.) The parties do not genuinely dispute the foregoing
material facts, making this case appropriate for summary judgment. See Fed. R. Civ.
P. 56(a). Instead, the parties disagree on the legal significance of these facts, and the
Court’s resolution of this case will therefore entitle one of the cross-movants to judg-
ment as a matter of law. See id.

       On the merits, then, the FDCPA provides that “[t]he term ‘debt’ means any
obligation or alleged obligation of a consumer to pay money arising out of a transac-
tion in which the money, property, insurance, or services which are the subject of the
transaction are primarily for personal, family, or household purposes . . .” 15 U.S.C.
§ 1692a(5). Here, the parties litigate the threshold question of whether the Act ap-
plies in these circumstances, which turns on whether the signing bonus is a debt
within the meaning of § 1692a(5). If it is, then the FDCPA covers it and that entitles
Wadsworth to summary judgment.

       In Franklin v. Parking Revenue Recovery Servs., Inc., the Seventh Circuit reit-
erated that the term transaction is “‘a broad reference to many different types of busi-
ness dealings between parties.’” 832 F.3d 741, 744 (7th Cir. 2016) (quoting Bass v.
Stolper, Koritzinsky, Brewster & Neider, S.C., 111 F.3d 1322, 1325 (7th Cir. 1997)).
The Court also harped on the fact that “the ‘arising out of’ language limits the
FDCPA’s reach to only those obligations that are created by contracts the parties used
to give legal force to their transaction.” Id. (citing Bass, 111 F.3d at 1326) (emphasis

1 The parties do genuinely dispute whether Wadsworth’s debt was ever in default, however
that is a question of law that goes to the heart of this case. Dkt. 37 ¶¶ 29, 34.
2 In situations like this one, when Kross does not satisfy its obligations under the Act, its

success rate is approximately 20% higher than when it does follow the law. Dkt. 33 ¶ 26.

                                        Page 2 of 6
    Case: 1:17-cv-08167 Document #: 40 Filed: 02/01/19 Page 3 of 6 PageID #:334




in original). Indeed, “[t]he crucial question is the legal source of the obligation[s],”
and if the “obligations arise out of contract law, they are debts covered by the
FDCPA.” Id. Here, there is no question that the parties used a contract to give legal
force to their transaction, or in other words, create the obligation. (Dkt. 33 ¶¶ 1–5.)
The FDCPA, then, would seem to regulate Kross’s attempts to collect Wadsworth’s
debt.

       Delving deeper, and into a case where an employee owed their former employer
money upon termination, the district court held that a separate loan from the com-
pany used for personal purposes qualified as a debt under the FDCPA. See, e.g.,
Thompson v. Diversified Adjustment Service, Inc., No. 12-922, 2013 WL 3973976 (S.D.
Tex. July 31, 2013). In its later consideration of that decision, the Eleventh Circuit
implied that if a plaintiff comes forward with evidence showing her former employer
loaned her money, then that would be enough to bring the debt within the FDCPA’s
ambit. See Surber v. McCarthy, Burgess & Wolff, Inc., 634 F. App’x 292, 295 n.3 (11th
Cir. 2015). In this case, the signing bonus in many ways resembles an employer-to-
employee loan, or even a salary advance. For that reason, both Thompson and Surber
are analogous and persuasive.

       When classifying a loan, courts “elevate[ ] substance over form” because “‘nei-
ther the lender’s motives nor the fashion in which the loan is memorialized are dis-
positive of this inquiry.’” Slenk v. Transworld Sys., Inc., 236 F.3d 1072, 1075 (9th
Cir. 2001) (internal citation omitted). Courts therefore “‘look to the substance of the
transaction and the borrower’s purpose in obtaining the loan, rather than the form
alone.’” Id. (internal citation omitted) (emphasis in original). The FDCPA applies on
its face to consensual consumer transactions. See Fleming v. Pickard, 581 F.3d 922,
925 (9th Cir. 2009). Wadsworth’s signing bonus plainly qualifies.

       Considering the parties’ whole transaction, Wadsworth consented to provide a
personal service—the development of pharmaceutical trials—in exchange for com-
pensation, denominated as an annual salary and a signing bonus payable in two in-
stallments. She presumably worked to support herself and her family, stating that
she used the funds to pay medical bills and household expenses. Dkt. 33 ¶ 4.; see,
e.g., Heejon Chung v. U.S. Bank, N.A., 250 F. Supp. 3d 658, 680–81 (D. Haw. 2017);
see also Miller v. McCalla, Raymer, Padrick, Cobb, Nichols, & Clark, L.L.C., 214 F.3d
872, 875 (7th Cir. 2000) (distinguishing personal from commercial borrowing in the
FDCPA context) (citations omitted).

      Because Wadsworth left PRA’s employ within eighteen months of receiving the
second installment, her contract obliged her to pay the money from the signing bonus
back to PRA. Cf. Bass, 111 F.3d at 1325 (“As long as the transaction creates an obli-
gation to pay, a debt is created.”). It follows, then, that a signing bonus qualifies as
an “obligation of a consumer to pay money arising out of a transaction” and the
“money . . . which [is] the subject of the transaction [is] primarily for personal, family,

                                        Page 3 of 6
    Case: 1:17-cv-08167 Document #: 40 Filed: 02/01/19 Page 4 of 6 PageID #:335




or household purposes.” See Berman v. GC Servs. Ltd. P’ship, 146 F.3d 482, 484 (7th
Cir. 1998).

       Whether the debt sought to be collected is in fact owed is entirely beside the
point. See Loja v. Main St. Acquisition Corp., 906 F.3d 680, 684 (7th Cir. 2018) (citing
Schlosser v. Fairbanks Capital Corp., 323 F.3d 534, 538 (7th Cir. 2003)); Bridge v.
Ocwen Fed. Bank, FSB, 681 F.3d 355, 359 (6th Cir. 2012). Kross tries to get around
this by arguing that the debt “was not in default at the time it was obtained . . .” 15
U.S.C. § 1692a(6)(F)(iii); see Carter v. AMC, LLC, 645 F.3d 840, 843 (7th Cir. 2011).
If Kross is right, then it is not a statutory debt collector and it has free rein to seek to
collect debts like Wadsworth’s. The truth is that, as a factual matter, Kross is a debt
collector. Dkt. 33 ¶¶ 9–12, 22, 24; see 15 U.S.C. § 1692a(6). Notwithstanding that,
Kross must fit into one of the Act’s categories. See Bridge, 681 F.3d at 359.

       “The FDCPA distinguishes between debt collectors, who are subject to the stat-
ute’s requirements, and creditors, who are not. ‘For purposes of applying the Act to
a particular debt, these two categories . . . are mutually exclusive.’” Ruth v. Triumph
Partnerships, 577 F.3d 790, 796 (7th Cir. 2009) (quoting Schlosser v. Fairbanks Cap-
ital Corp., 323 F.3d 534, 536 (7th Cir. 2003)); see Bridge, 681 F.3d at 359. As an initial
matter, Kross is not a creditor because it is not in the business of loaning people
money.

       Moreover, the reason Congress decided to treat these types of entities differ-
ently is because creditors are generally restrained “‘by the desire to protect their good
will when collecting past due accounts,’” so the Act need not further impose on them.
Id. at 797 (internal citations and quotations omitted); see also Johnson v. Carrington
Mortg. Servs., 638 F. App’x 523, 525 (7th Cir. 2016). That is why “the Act is aimed at
debt collectors, who may have ‘no future contact with the consumer and often are
unconcerned with the consumer’s opinion of them.’” Ruth, 577 F.3d at 796. Here,
unlike PRA (the originator) or a servicer of a non-defaulted debt, Kross “has no ongo-
ing relationship with the debtor and, therefore, no incentive to engender good will by
treating the debtor with honesty and respect.” Id.

       Heeding the Act’s purpose, then, Congress meant it to apply in this instance.
But because Kross did not originate the debt and instead collected it for PRA, the
debt’s status under the Act “turns on whether the debt was in default at the time it
was acquired.” Id. at 796 (citations omitted); see Carter, 645 F.3d at 844 (“A servicing
agent ‘obtains’ a debt in the sense that it acquires the authority to collect the money
on behalf of another.”).

       In this case, the record does not contain a timeline that dictates whether the
debt is current or in default. In fact, all the documents say is that Wadsworth agreed
to “promptly” reimburse PRA. (Dkt. 33 ¶¶ 2–3.) PRA conceded that it immediately
asserted its right to reimbursement because Wadsworth owed it the debt straight

                                        Page 4 of 6
    Case: 1:17-cv-08167 Document #: 40 Filed: 02/01/19 Page 5 of 6 PageID #:336




away; within a week, PRA referred the delinquent account to Kross. Id. ¶¶ 6, 8–12,
22–24. Wadsworth failed to pay PRA, so of course she was in default. Kross’s con-
trary position begs the question: if Wadsworth was not in default then (in FDCPA
terms, that is), when would she be?

       A better course is the one Wadsworth charted, wherein she contended that “[a]
debt that becomes immediately due in full upon the occurrence of an event . . . can
never be current; it can only be owed or not owed. Such debts are in default upon
creation because there is no purpose to permit any ‘grace period’ . . . to return an
account to good standing.” (Dkt. 38 at 3.)

       Even assuming the debt was not in default, Kross “treated the debt as if it were
in default at the time of acquisition.” Bridge, 681 F.3d at 362. As the Sixth Circuit
explained:

      It matters not whether such treatment was due to a clerical mistake,
      other error, or intention. Thus, a FDCPA defendant cannot escape cov-
      erage under the Act by asserting to the court that the debt was not ac-
      tually in default, despite having dunned [the] plaintiff[ ] for months or
      years in the face of [the] plaintiff[’]s[ ] pleas or proof that the collector
      has made some error. A defendant may not retroactively change the
      status of the plaintiff it has pursued as an alleged debtor. To hold oth-
      erwise would defy the clear congressional mandate [the court] is charged
      with upholding.

Id. at 362–63. PRA hired a third party, self-identified debt collector to pursue a debt.
The only reason Kross acquired the debt was for collection. Logically speaking, the
debt was in default, and therefore Kross is a debt collector that acted as a debt collec-
tor under 15 U.S.C. § 1692a(6)(F)(iii). See Schlosser, 323 F.3d at 536. Kross’s (or
PRA’s) belief that the debt was not in default is irrelevant.

        When all is said and done, Wadsworth is an individual, not a commercial en-
tity, so she is more likely to be unsophisticated about debt collection and thus fall for
dirty tricks. See McCalla, Raymer, Padrick, Cobb, Nichols, & Clark, L.L.C., 214 F.3d
at 875. Congress intended for the FDCPA to protect people like her, which is why it
expansively defined debt. With that directive in mind, the Court refuses to adopt
Kross’s highly technical reading of the Act to rob Wadsworth of its safeguards.




                                       Page 5 of 6
    Case: 1:17-cv-08167 Document #: 40 Filed: 02/01/19 Page 6 of 6 PageID #:337




       Accordingly, the Court denies Kross’s motion for summary judgment (Dkt. 28)
and grants Wadsworth’s (Dkt. 25), entering judgment as a matter of law in her favor.
This ruling entitles Wadsworth to a $1,000 statutory damages award and leave to
petition the Court for attorneys’ fees and costs under the Act. See 15 U.S.C.
§ 1692k(a)(2)–(3). Plaintiff shall file her fee petition on or before 2/15/2019. Defendant
shall file any objections to the fee petition on or before 3/1/2019.




                                         ____________________________________
                                         Virginia M. Kendall
                                         United States District Judge
Date: February 1, 2019




                                       Page 6 of 6
